Case 1:19-cv-01224-CMH-IDD Document 122 Filed 10/20/20 Page 1 of 12 PageID# 2411




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

  JAMES AND KELARA GHAISAR,                         )
  Individually and as Personal Representatives      )
  and Co-Administrators of the Estate of Bijan C.   )
  Ghaisar, Deceased,                                )
                                                    )       Case No. 1:19-cv-1224 (CMH/IDD)
                         Plaintiffs,                )
                                                    )
         v.                                         )
                                                    )
  UNITED STATES OF AMERICA,                         )
                  Defendant.                        )


   UNITED STATES OF AMERICA’S MEMORANDUM OF LAW IN SUPPORT OF ITS
        MOTION FOR RECONSIDERATION OF ITS MOTION TO STAY THE
                            PROCEEDINGS

         Pursuant to Federal Rule of Civil Procedure 54(b) and Local Rule 7, the United States of

  America respectfully requests that this Court reconsider its decision on the United States’ Motion

  to Stay the Proceedings, in light of the criminal indictments issued days ago in Fairfax County

  Circuit Court against two Park Police officers for the same conduct at issue in this case.

                                         INTRODUCTION

         The United States of America previously moved to stay this action. That motion argued

  that the United States faced significant prejudice because the oral testimony of Officers Amaya

  and Vinyard—whose actions are at the heart of Plaintiffs’ claims—was unavailable to this Court.

  Both officers, fearing the potential for criminal prosecution in Fairfax County, had invoked their

  Fifth Amendment rights to silence in their depositions in this matter, and likely would continue

  to do so at trial. This Court denied that motion, stating from the bench that there was no firm

  deadline for the Fairfax County Commonwealth’s Attorney to conclude its investigation and




                                                    1
Case 1:19-cv-01224-CMH-IDD Document 122 Filed 10/20/20 Page 2 of 12 PageID# 2412




  make a prosecutorial decision; indeed, this Court noted that “a stay might be appropriate” if

  “there was . . . some kind of time frame that a decision would be made.”

          This Court’s concern no longer exists, because “a decision” has now “be[en] made.” On

  October 15, 2020, a grand jury sitting in the Fairfax County Circuit Court indicted Officers

  Amaya and Vinyard with one count each of involuntary manslaughter and reckless discharge of a

  firearm. These indictments remove the specter of doubt about when the Fairfax County

  Commonwealth’s Attorney would conclude its investigation. Instead, these indictments now

  provide a more defined timetable for resolution of any criminal action against the officers.

          Respectfully, in light of the indictments, this Court should reconsider its previous denial

  of the United States’ motion to stay. All of the reasons that the United States outlined as

  meriting a stay, see Def.’s Mem. Stay (Dkt. 45), are still present, and have even greater force

  now that Officers Amaya and Vinyard face criminal charges. Recognizing the substantial

  prejudice to organizational defendants who are deprived of key testimony because of individual

  employee’s Fifth Amendment rights, courts have routinely granted stays where, as here, those

  individual employees have been indicted. Although organizational defendants have no Fifth

  Amendment rights, their liability is significantly impacted by individual employees who do have

  such rights and are facing a concrete threat of criminal penalties. Because the United States

  finds itself in exactly that position in this case, where both officers are indicted on two felony

  charges, it respectfully requests that this Court reconsider its motion to stay the proceedings in

  this case.

          Plaintiffs, through counsel, have advised that although they do not consent to a stay of

  summary judgment proceedings, they would consent to a stay of any trial in this civil action,

  currently scheduled for November 16-18, 2020, with the understanding that the parties would



                                                    2
Case 1:19-cv-01224-CMH-IDD Document 122 Filed 10/20/20 Page 3 of 12 PageID# 2413




  update the Court in March 2021 at a scheduled status hearing regarding the continued need for a

  stay.

                                           BACKGROUND

          The United States presumes familiarity with the background of the case, see Def’s Mem.

  Stay at 3-8, and recounts only facts relevant for the instant motion.

          The United States moved to stay the proceedings in this case pending the then-potential

  criminal prosecution of Officers Amaya and Vinyard by Fairfax County, Virginia, for the

  shooting death of Bijan Ghaisar on November 17, 2017. Mot. to Stay (Dkt. 44). The United

  States argued that a stay was appropriate in this case because (1) it would be substantially

  prejudiced if it was forced to defend this action without the testimony of Officers Amaya and

  Vinyard, who had invoked the Fifth Amendment in response to questioning at their depositions

  and likely would continue to do so at trial; (2) there was a low risk of prejudice to Plaintiffs in

  delaying the proceeding until after the Fairfax County Commonwealth’s Attorney had decided to

  prosecute, since discovery had concluded; (3) the Court’s convenience favored a stay, where

  Plaintiffs were likely to seek several adverse inferences from the officers’ testimonial silence,

  which the Court would have to assess individually before ruling on whether it decided to

  exercise its discretion to draw the inference; and (4) the public has an interest in having this case

  decided on a full record. See Def.’s Mem. Stay at 10-18; Reply (Dkt. 59) at 3-7. Plaintiffs

  opposed the motion. Opp’n Stay (Dkt. 57).

          This Court heard argument on the motion on August 28, 2020. After hearing from both

  parties, the Court denied the United States’ motion from the bench. Minute Entry (Dkt. 60);

  Order (Dkt. 61). In its ruling, the Court reasoned that “a stay might be appropriate” if “there was

  some indication that there was even any kind of expeditious work going on, or some kind of time



                                                    3
Case 1:19-cv-01224-CMH-IDD Document 122 Filed 10/20/20 Page 4 of 12 PageID# 2414




  frame that a decision would be made.” Hr’g Tr. (Dkt. 95) at 18:13-16. But there was no

  indication any decision would be forthcoming, and the Court recognized that it had to “balance

  out the Government’s right to have witnesses that may be able to testify against the plaintiff’s

  right to proceed with their case.” Id. at 19:1-3. At that time—where there were no indictments

  and no indication of when a prosecutorial decision was going to be made—the Court concluded

  that there was no justification to enter a stay because there was only the possibility of criminal

  charges. Id.

         The parties filed their summary judgment motions (Dkts. 68 and 75), and briefing on both

  motions was completed on October 15, 2020. In their motion for partial summary judgment,

  Plaintiffs requested that this Court draw adverse inferences about the officers’ subjective beliefs

  about whether Bijan Ghaisar posed a threat to officer or public safety. Pls.’ Mem. MSJ (Dkt. 69)

  at 24-25. Simultaneously, however, Plaintiffs—in sharp contrast to their position before this

  Court in opposing a stay, see Opp’n Stay at 5—argued that the United States was not entitled to

  summary judgment because “it has put forth no facts to show the officers actually believed

  deadly force was necessary.” Pls.’ Opp’n to MSJ (Dkt. 97) at 12 (emphasis added).

  Additionally, Plaintiffs urged this Court to “ignore” any facts based on the officers’ statements.

  Id. at 13-17. A hearing on the cross-motions for summary judgment is currently scheduled for

  October 23, 2020, see Dkt. 51; however, contemporaneously with this motion, the United States

  is also moving to continue the summary judgment hearing so that the Court may first decide

  whether a stay is appropriate before considering the parties’ extensive summary judgment

  briefing.

         On October 15, 2020, a grand jury sitting in the Fairfax County Circuit Court indicted

  Officers Amaya and Vinyard each with one count of involuntary manslaughter and one count of



                                                    4
Case 1:19-cv-01224-CMH-IDD Document 122 Filed 10/20/20 Page 5 of 12 PageID# 2415




  reckless discharge of a firearm. Press Release, Commonwealth’s Attorney Descano Official

  Statement Announcing Indictments in the Bijan Ghaisar Case (Oct. 15, 2020)

  (https://www.fairfaxcounty.gov/commonwealthattorney/commonwealths-attorney-descano-

  official-statement-announcing-indictments-bijan-ghaisar-case). Both counts are felonies.

                                             ARGUMENT

          As the Fourth Circuit has held, a district court has the discretion to reconsider its own

  interlocutory orders prior to the entry of final judgment and is not bound by the stringent

  standards attending post-judgment motion pursuant to, for example, Federal Rule 59. See Am.

  Canoe Ass’n v. Murphy Farms, Inc., 326 F.3d 505, 514-15 (4th Cir. 2003); see also Fayetteville

  Investors v. Commercial Builders, Inc., 936 F.2d 1462, 1469 (4th Cir.1991) (“An interlocutory

  order is subject to reconsideration at any time prior to the entry of a final judgment.”); cf. Fed. R.

  Civ. P. 54(b) (providing that interlocutory orders that resolve fewer than all claims are “subject

  to revision at any time before the entry of [final] judgment”). This power is committed to the

  discretion of the district court. See Moses H. Cone Mem. Hosp. v. Mercury Const. Corp., 460

  U.S. 1, 12 (1983) (noting that “every order short of a final decree is subject to reopening at the

  discretion of the district judge”).

          In light of the indictments charging Officers Amaya and Vinyard with involuntary

  manslaughter and reckless discharge of a firearm for the events of November 17, 2017, this

  Court should reconsider its previous order on the United States’ motion to stay. This Court has

  inherent authority to grant a stay. See Landis v. N. American Co., 299 U.S. 248, 254 (1936) (“the

  power to stay proceedings is incidental to the power inherent in every court to control the

  disposition of the causes on its docket with economy of time and effort for itself, for counsel, and

  for litigants.”). While the Fourth Circuit has not explicitly endorsed any particular factors for a



                                                    5
Case 1:19-cv-01224-CMH-IDD Document 122 Filed 10/20/20 Page 6 of 12 PageID# 2416




  court to consider when ruling on a motion to stay, consistent with case law in other circuits

  district courts in the Fourth Circuit have considered: whether the parallel proceedings are related

  and involve substantially similar issues; the burden, including any potential prejudice that any

  particular aspect of the proceedings may impose on defendants; the interest of plaintiffs in

  proceeding expeditiously with the litigation, and the potential prejudice to plaintiffs of a delay;

  the interests of third parties; the convenience of the court; and the public interest. See Ashworth

  v. Albers Med., Inc., 229 F.R.D. 527, 530-31 (S.D. W.Va. 2005) (surveying case law across

  circuits).

          Critically, however, there is no longer a mere threat of indictment; it is real. This Court

  is no longer faced with its concern about the prospect of an unending criminal investigation by

  Fairfax County. The indictments of Officers Amaya and Vinyard only heighten the prejudice to

  the United States if this civil action were to continue, for the reasons discussed below.

          A. The substantial overlap between this civil action and any potential criminal
             action favors a stay.

          The threshold issue of whether the parallel criminal and civil proceedings are sufficiently

  similar such that the proceedings are related is met here. See Def.’s Mem. Stay at 10. The

  indictments of Officers Amaya and Vinyard charge each with one count of common law

  involuntary manslaughter, punishable under Virginia Code § 18.2-36, and one count of reckless

  discharge of a firearm in violation of Virginia Code § 18.2-56.1(A1), for the death of Bijan

  Ghaisar arising from the shooting incident on November 17, 2017. In this suit under the Federal

  Tort Claims Act, 28 U.S.C. §§ 1346(b)(1), 2671 et seq., Plaintiffs bring a claim for wrongful

  death of Bijan Ghaisar, on behalf of his estate, also for the shooting incident on November 17,




                                                    6
Case 1:19-cv-01224-CMH-IDD Document 122 Filed 10/20/20 Page 7 of 12 PageID# 2417




  2017. See Pls.’ Mem. MSJ (Dkt. 69) at 18. 1 As both the criminal and civil actions relate to the

  November 17, 2017 shooting incident, this threshold nexus is easily satisfied.

            B. The indictments make a timeline to resolution of the criminal charges more
               concrete, as constitutional and statutory speedy trial rights circumscribe the
               timing of trial.

            During the hearing on the United States’ motion to stay, this Court expressed concern

  that there was no limitation on the amount of time Fairfax County could spend investigating this

  case, making a stay inappropriate here. As this Court stated in its ruling denying the motion, “a

  stay might be appropriate” if “there was some indication that there was even any kind of

  expeditious work going on, or some kind of time frame that a decision would be made. . . .

  There’s no likelihood that any reasonable period of time would have any effect whatsoever.”

  Hr’g Tr. at 18:13-16, 19:4-5 (Aug. 28, 2020).

            With the issuance of these indictments, however, this Court’s concern no longer exists.

  Even if the criminal proceedings may take some time to resolve because of the unique immunity

  issues presented by the prosecution of federal officers by a state entity, there is no longer an open

  question of whether charges will be filed and when; the “decision” to charge that the Court found

  lacking before has now been made. Courts in similar postures as to the one here—where

  defendants have been indicted, but trial dates have not yet been set—have granted stays. See

  Keiper v. Victor Valley Transit Auth., 2016 WL 11651894, at *1 (C.D. Cal. May 19, 2016);

  Taylor, Bean & Whitaker Mortg. Corp. v. Triduanum Fin., Inc., 2009 WL 2136986, at *3 (E.D.

  Cal. July 15, 2009); Mr. Dee’s, Inc. v. Int’l Outsourcing Servs., LLC, 2008 WL 4853601, at * 1

  (E.D. Wisc. Nov. 3, 2008); 2 Am. Express Bus. Fin. Corp v. RW Prof’l Leasing Servs. Corp., 225


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      In the alternative, Plaintiffs also bring a survivorship action. See Compl. (Dkt. 1) ¶¶ 177-182.
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    In fact, in Mr. Dee’s, the underlying criminal case was deemed complex and therefore removed
  from the ambit of the Speedy Trial Act’s requirements. Minute Entry (Dkts. 21, 46, 52), United

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Case 1:19-cv-01224-CMH-IDD Document 122 Filed 10/20/20 Page 8 of 12 PageID# 2418




  F. Supp. 2d 263, 266 (E.D.N.Y. 2002). And in all of these cases, the courts found that there was

  a substantial risk of prejudice to organizational defendants arising from an inability to obtain

  testimony from individuals who had been indicted on related charges. See Keiper, 2016 WL

  11651894, at *6 (granting stay of discovery because without indicted individual’s testimony, the

  United States would be “at a disadvantage in this action.”); Taylor, Bean, 2009 WL 2136986, at

  *3 (finding that because officers took the Fifth Amendment, the defendant corporation was

  “greatly prejudiced in its ability to meaningfully defend itself in the civil matter”); Mr. Dee’s,

  2008 WL 4853601, at *2 (granting stay because risk of prejudice to organizational defendant

  was “substantial,” where key witnesses invoked Fifth Amendment and therefore organizational

  defendant could not access key information and witnesses for its defense); Am. Express Bus. Fin.

  Corp., 225 F. Supp. 2d at 266 (granting stay because the defendant’s corporate officers planned

  to assert their Fifth Amendment rights and the officers were “central figures” in the corporation’s

  defense). 3

          Officers Amaya and Vinyard’s testimony are central to the United States’ defense in this

  action. Both are the only individuals who can testify as to their own personal observations and


  States v. Internat’l Outsourcing Servs., LLC, et al., Dkt. No. 2:07-cr-57 (E.D. Wisc.). At the
  time the district court granted the stay of the civil case, the court in the criminal case had already
  denied a motion for a speedy trial. Order (Dkt. 99), Dkt. No. 2:07-cr-57 (E.D. Wisc. July 9,
  2007).
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    See also Estate of Limon v. City of Oxnard, 2013 WL 12131359, at *4 (C.D. Cal. Dec. 10,
  2013) (ordering partial stay of discovery while district attorney’s office continued to investigate
  individual defendants to determine whether to bring criminal charges, even where “no clear
  timetable for the completion of the DA’s criminal investigation”); Salcedo v. City of Chicago,
  2010 WL 2721864, *3 (N.D. Ill. July 8, 2010) (granting stay where criminal investigations were
  “ongoing” and even though it was “unclear” when trial would be set for indicted individual
  defendants); Chagolla v. City of Chicago, 529 F. Supp. 2d 941, 946 (N.D. Ill. 2008) (granting
  stay as to all individual defendants where only some had been indicted and unindicted defendants
  faced “only the threat” of indictment); Jones v. City of Indianapolis, 216 F.R.D. 440, 451-52
  (S.D. Ind. 2003) (granting limited stay of discovery as to individual defendants while
  Department of Justice continued its criminal investigation).

                                                    8
Case 1:19-cv-01224-CMH-IDD Document 122 Filed 10/20/20 Page 9 of 12 PageID# 2419




  decision making rationales, which are significant to evaluate whether the use of deadly force was

  reasonable. Ruszczyk as Trustee for Ruszczyk v. Noor, 349 F. Supp. 3d 754, 762 (D. Minn. 2018)

  (granting stay in officer-involved shooting case because municipal defendants would be deprived

  of “information critical to their own defense on the merits” because of the officer’s invocation of

  the Fifth Amendment). And while the question of when a law enforcement officer is entitled to

  utilize deadly force against an individual is an objective test, it is informed by what that officer

  knew at the time deadly force was used. See Graham v. O’Connor, 490 U.S. 386, 397 (1989)

  (“The ‘reasonableness’ of a particular use of force must be judged from the perspective of a

  reasonable officer on the scene, rather than with the 20/20 vision of hindsight.”); Ruszczyk, 349

  F. Supp. 3d at 762 (“To defend against the municipal liability claims asserted, the City

  Defendants must investigate Noor’s observations and decisions in order to evaluate the

  reasonableness of his use of deadly force.”). The United States should be able to have its

  liability in this case decided on a full record, which includes Officers Amaya’s and Vinyard’s

  testimony, and that will be possible if this Court stays proceedings in this case until there is a

  final determination of criminal liability.

         C. The remaining factors—the risk of prejudice to Plaintiffs, the Court’s
            convenience, and the public interest—all favor a stay.

         The remaining factors courts consider in granting a motion to stay—the risk of prejudice

  to Plaintiffs, the Court’s convenience, and the public interest—all favor a stay.

         1.      There is a low risk of prejudice to Plaintiffs in staying this motion at this juncture.

  In their motion for summary judgment, Plaintiffs argued they are entitled to certain adverse

  inferences from the officers’ invocation of the Fifth Amendment in their depositions in this case.

  Pls.’ Mem. MSJ (Dkt. 69) at 24-25. In other words, Plaintiffs have tacitly conceded that the

  officers’ testimony is, if not necessary for them to prevail on their claims, at least relevant. But


                                                    9
Case 1:19-cv-01224-CMH-IDD Document 122 Filed 10/20/20 Page 10 of 12 PageID# 2420




  as noted in the United States’ opposition to Plaintiffs’ motion for summary judgment, Plaintiffs

  fail to offer any evidence supporting the reliability of any of the inferences they seek, as required

  under the relevant case law. Def.’s Opp’n to MSJ (Dkt. 98) at 22-25. And, Plaintiffs go even

  further, asking this Court to employ adverse inferences to negate other record evidence, a wholly

  novel proposition which this Court may, in its discretion, decline. Id. Though Plaintiffs vacillate

  between arguing that the officers’ testimony is not necessary and asking this Court to draw

  adverse inferences from the officers’ invocation of their Fifth Amendment rights, the officers’

  testimony is undeniably a key piece of evidence for both parties.

         To the extent that Plaintiffs claim key witness testimony would be lost if a stay is

  granted, see Pls.’ Opp’n to Stay (Dkt. 57) at 6-7, all of the witnesses Plaintiffs expect to call at

  trial were deposed in discovery. Pls.’ Am. Witness List (Dkt. 54-2). As for the witnesses

  Plaintiffs may call at trial, Plaintiffs had every opportunity to depose those witnesses during

  discovery and chose not to do so. That strategic decision cannot now form the basis to block a

  motion to stay.

         2.         Respectfully, the United States continues to believe the Court’s convenience

  favors a stay. It is clear from summary judgment briefings that the officers’ testimony is a key

  part of this case for both parties. And should this case proceed without the officers’ substantive

  testimony, this Court will have to (a) assess whether there is independent reliable evidence

  elsewhere in the record to support adverse inferences from the officers’ invocation of their

  constitutional rights and (b) determine evidentiary questions under Federal Rule of Evidence 703

  concerning the extent to which the use of force experts may testify about statements the officers

  made, on which they relied. Waiting until the officers can testify live at trial resolves both of

  these hotly contested legal issues. Pls.’ Opp’n MSJ (Dkt. 97) at 13-14; Def.’s Reply MSJ (Dkt.



                                                    10
Case 1:19-cv-01224-CMH-IDD Document 122 Filed 10/20/20 Page 11 of 12 PageID# 2421




  115) at 8-9, 15-16; see also Pls. Mem. Strike (Dkt. 88) at 5-7; Def.’s Opp’n Strike (Dkt. 103) at

  7-14.

          3.     The public interest favors a stay. As detailed in the United States’ memorandum

  in support of a stay, the public sometimes could be seen as having competing interests in the

  prompt resolution of civil matters and in the integrity of the criminal process. See Def.’s Mem.

  Stay at 18. In a battle between these interests, the civil case must give way to the criminal case

  to protect the public’s confidence in the integrity of the criminal proceedings. Id.

          Furthermore, because both officers will invoke the Fifth Amendment at a civil trial, “the

  record will be incomplete.” Ruszczyk, 349 F. Supp. 3d at 765. “Such an undeveloped record

  goes against the public’s strong interest in [alleged] police misconduct[.].” Id. (citation and

  internal quotation marks omitted). The public interest is not served if this civil case moves

  forward now on a partial record, where it could be resolved on a full record after the

  indictments—which are subject to constitutional and statutory speedy trial requirements—are

  resolved by trial or some other means. 4




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    The public also “has an interest in ensuring that the criminal process can proceed untainted by
  civil litigation.” Ruszczyk, 349 F. Supp. 3d at 765 (citations and internal quotation marks
  omitted). If the extensive publicity this case has received to date is any indication, the additional
  publicity surrounding a civil trial could seriously impede Officers Amaya’s and Vinyard’s rights
  to a fair criminal trial. See, e.g., Tom Jackman, Senators Keep Pressing for Details in Park
  Police Slaying of Bijan Ghaisar, WASHINGTON POST, Aug. 6, 2020, at B5; Matthew Barakat,
  Trial Set in Civil Suit Over 2017 Park Police Shooting, ASSOCIATED PRESS, Aug. 20, 2020,
  available at https://apnews.com/article/shootings-religion-dc-wire-va-state-wire-us-news-
  26919987ada359a33297b2b8276701dc; Editorial Board, The Death of Bijan Ghaisar, Minute by
  Minute, WASHINGTON POST, Sept. 27, 2019, at A24; Associated Press, Police Reports: Driver
  Shot By Park Police Was Unarmed, ASSOCIATED PRESS, Oct. 29, 2018, available at
  https://apnews.com/article/e41df991aead41a5ae1eafffe8b25e79; Matt Stevens, Video Shows U.S.
  Park Police Firing 9 Times in Fatal Shooting of Driver, NEW YORK TIMES, Jan. 25, 2018,
  available at https://www.nytimes.com/2018/01/25/us/virginia-police-
  shooting.html?searchResultPosition=1.

                                                   11
Case 1:19-cv-01224-CMH-IDD Document 122 Filed 10/20/20 Page 12 of 12 PageID# 2422




                                           CONCLUSION

         In sum, in view of the recent indictments of Officers Amaya and Vinyard, which resolve

  any uncertainty about whether and when criminal proceedings will commence, the United States

  respectfully requests that the Court reconsider its prior ruling on the United States’ motion to

  stay proceedings.

  Dated: October 20, 2020                               Respectfully submitted,

                                                        G. ZACHARY TERWILLIGER
                                                        UNITED STATES ATTORNEY

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                                                   12
